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                   IN THE UNITED STATES DISTRICT COURT
                           WESTERN DISTRICT OF TEXAS
                             SAN ANTONIO DIVISION
                                       §
GLOBAL WEATHER PRODUCTIONS, LLC        §
                                       §
                 Plaintiff,            §
           v.                          §
                                       § Case No: 5:23-cv-01350-JKP-ESC
                                       §
JOE PAGS MEDIA, LLC
                                       §
                                       §
                Defendant.
                                       §
                                       §

                          DECLARATION OF CRAIG B. SANDERS

       I, CRAIG B. SANDERS, hereby swear under the penalty of perjury that the following is

true and correct to the best of my personal knowledge:

       1.      I am lead counsel for plaintiff Global Weather Productions, LLC (“Plaintiff”) and

am duly admitted to practice law in this District.

       2.      I submit this declaration in support of Plaintiff’s application for entry of default

judgment against defendant Joe Pags Media, LLC (“Defendant”) pursuant to Fed.R.Civ.P. 55(b).

       3.      Plaintiff’s count for copyright infringement, which involves the unauthorized

expropriation of Plaintiff’s copyrighted video, arises under the Copyright Act, 17 U.S.C. § 101 et

seq. This Court has subject matter jurisdiction over this action pursuant to 28 U.S.C. §§ 1331 and

1338(a).

       4.      This Court has personal jurisdiction over Defendant because Defendant resides and

transacts business in Texas.

       5.      Defendant is a limited liability company organized under the laws of the State of

Texas with a place of business within this judicial district. The principal address of Defendant is

287 Coyote Trail, Spring Branch, TX 78070.
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       6.      As per the Proof of Service at Dkt. No. 7, the summons and complaint were served

on Defendant on January 18, 2024.

       7.      Defendant is a company, and therefore not an infant, incompetent, or a military

service member.

       8.      The basis for entry of default is Defendant’s failure to retain licensed counsel to

appear and defend this action.

       9.      Plaintiff’s copyright infringement claim qualifies for statutory damages under 17

U.S.C. § 504(c) because the video was registered on September 1, 2022, which was within three

months of the date of the initial publication of the video. See 17 U.S.C. § 412.

       10.     Generally, in the default-judgment context, unliquidated damages are not awarded

without an evidentiary hearing. Fed. R. Civ. P. 55(b)(2)(B); James v. Frame, 6 F.3d 307, 310 (5th

Cir. 1993). However, the Rules do not require an evidentiary hearing, and the Court has broad

discretion to forego an evidentiary hearing where there is sufficient evidence to render a decision

without one. See James, 6 F.3d at 310; United Artists Corp. v. Freeman, 605 F.2d 854, 857 (5th

Cir. 1979) (per curiam) (citations omitted) (holding that in the default judgment context, damages

may “be entered without a hearing” if “the amount claimed is a liquidated sum or one capable of

mathematical calculation”); Verch v. White Rock Sec. Group, LLC, 3:19-CV-01457-S, 2020 WL

4550419, at *3 (N.D. Tex. June 30, 2020), report and recommendation adopted, 3:19-CV-01457-

S, 2020 WL 4530716 (N.D. Tex. Aug. 6, 2020)

       11.     For violation of 17 U.S.C. § 501, Plaintiff seeks $30,000.00 in statutory damages

for willful copyright infringement. See accompanying Memorandum of Law.

       12.     “The Copyright Act prohibits infringement by ‘[a]nyone who violates any of the

exclusive rights of the copyright owner.’” Prostar v. Massachi, 239 F.3d 669, 677 (5th Cir. 2001)



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(citing 17 U.S.C. § 501(a)). To succeed on a claim that these rights have been infringed, a

plaintiff must generally demonstrate two elements: (1) ownership of a valid copyright, and (2)

that a defendant violated one or more of the plaintiff's exclusive rights under the copyright. Avtec

Sys., Inc. v. Peiffer, 21 F.3d 568, 571 (5th Cir. 1994); Microsoft Corp. v. Software Wholesale

Club, Inc., 129 F. Supp. 2d 995, 1001–02 (S.D. Tex. 2000). “Ownership of a valid copyright is

established by proving the originality and copyrightability of the material and compliance with

the statutory formalities.” Norma Ribbon & Trimming, Inc. v. Little, 51 F.3d 45, 47 (5th Cir.

1995). A copyright registration certificate is prima facie evidence of copyright validity. Id.; 17

U.S.C. § 410(c).

       13.     Upon a showing of validity, a copyright owner establishes infringement by

demonstrating that one of its rights under 17 U.S.C. § 106 has been violated. Id. at § 501(a); Avtec

Sys., 21 F.3d 571. Copyright infringement is a strict liability offense, requiring no intent to

infringe. Buck v. Jewell–LaSalle Realty Co., 283 U.S. 191, 198 (1931); Chavez v. Arte Publico

Press, 204 F.3d 601, 607 (5th Cir. 2000); see also Fed'n of State Massage Therapy Boards v.

Mendez Master Training Ctr., Inc., 393 F. Supp. 3d 557, 573 (S.D. Tex. 2019) (“Copyright

infringement is a strict liability tort and plaintiffs do not need to prove a defendant's mental state

to prosecute a claim.”); Microsoft Corp., 129 F. Supp. 2d at 1002 (“Neither lack of knowledge nor

intent is a defense to a claim of copyright infringement.”). An infringement is “willful” if the

infringer “knows his actions constitute an infringement.” Broad. Music, Inc. v. Xanthas, Inc., 855

F.2d 233, 236 (5th Cir. 1988).

       14.     “At the plaintiff’s election, Section 504 of the Copyright Act allows the Court to

assess statutory damages for each work for which the copyright has been infringed, in a ‘sum of

not less than $750 or more than $30,000 as the court considers just,’ 17 U.S.C. § 504(c)(1),




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without requiring a plaintiff to make a showing of profit by the defendant or loss by the plaintiff

as a result of the infringing activity.” The Copyright Act provides district courts wide discretion

in awarding damages in a copyright case—within those limits set by the statute. Capitol Records,

Inc. v. Lyons, No. CIV.A.3:03-CV-2018-L, 2004 WL 1732324, at *7 (N.D. Tex. Aug. 2, 2004)

(citing Golden Torch Music Corp. v. Lichelle's Inc., Civ.A. No. W-86-CA-005, 1987 WL 14543,

at *4 (W.D. Tex. Jan. 26, 1987)). “Ultimately, statutory damages are intended not merely for the

restitution of profits or reparation of injury, but to deter wrongful conduct.” Future World Elecs.,

LLC v. Over Drive Mktg., LLC, No. 3:12-CV-2124-B, 2013 WL 5925089, at *4 (N.D. Tex. Nov.

5, 2013) (citations and quotations omitted); Mouse On Tha Track LLC v. Parg Mgt. LLC, 3:18-

CV-2980-S-BH, 2019 WL 6970946, at *7 (N.D. Tex. Nov. 13, 2019), report and

recommendation adopted sub nom. Mouse on Tha Track LLC v. PARC Mgt. LLC, 3:18-CV-2980-

S-BH, 2019 WL 6915726 (N.D. Tex. Dec. 18, 2019)

       15.     Thus, even if evidence of Plaintiff’s actual losses is available, there is no

requirement that Plaintiff produce such evidence after electing to recover statutory damages.

“Under the current [Copyright] Act, the copyright owner may elect to recover statutory damages,

instead of actual damages and defendant’s profits. He may, moreover, make such an election

regardless of the adequacy of the evidence offered as to his actual damages and the amount of

defendant’s profits, and even if he has intentionally declined to offer such evidence, although it

was available.” 4 Melville B. Nimmer & David Nimmer, NIMMER ON COPYRIGHT § 14.04[A]

(2009 ed.) (emphasis added).

       16.     The willful nature of Defendant’s actions warrants an award of statutory damages

in the amount of $30,000 per work for copyright infringement is reasonable, consistent with the

statute and sufficient to deter future infringement. Mouse On Tha Track LLC v. Parg Mgt. LLC,




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3:18-CV-2980-S-BH, 2019 WL 6970946, at *7 (N.D. Tex. Nov. 13, 2019), report and

recommendation adopted sub nom. Mouse on Tha Track LLC v. PARC Mgt. LLC, 3:18-CV-2980-

S-BH, 2019 WL 6915726 (N.D. Tex. Dec. 18, 2019).

       17.    The Copyright Act provides that a court may award costs and reasonable attorneys'

fees to a prevailing party. 17 U.S.C. § 505. “[I]n copyright cases the award of attorney's fees is

‘the rule rather than the exception and should be awarded routinely.’” La. Contractors Licensing

Serv., Inc. v. Am. Contractors Exam Servs., Inc., 594 Fed.Appx. 243, 244 (5th Cir. 2015) (quoting

Micromanipulator Co. v. Bough, 779 F.2d 255, 259 (5th Cir. 1985)); McGaughey v. Twentieth

Century Fox Film Corp., 12 F.3d 62, 65 (5th Cir. 1994).

       18.    Section 505 “grants courts wide latitude to award fees based on the totality of

circumstances in a case.” Kirtsaeng v. John Wiley & Sons, Inc., 136 S. Ct. 1979, 1985 (2016)

(citations omitted). When determining whether to award fees under the Copyright Act, courts may

consider several nonexclusive factors, including the losing party's “frivolousness, motivation,

objective unreasonableness, and the need in particular circumstances to advance considerations of

compensation and deterrence.” Kirtsaeng, 136 S. Ct. at 1985 (alterations and internal quotation

marks omitted); Crenshaw Media Group LLC v. Davis, 3:17-CV-2204-N, 2018 WL 3496473, at

*3 (N.D. Tex. July 20, 2018); Fogerty v. Fantasy, Inc., 510 U.S. 517, 535 n.19 (1994); Compaq

Computer Corp. v. Ergonome Inc., 387 F.3d 403, 412 (5th Cir. 2004). The party seeking

attorneys’ fees bears the burden of showing the hours expended through adequate records.

Watkins v. Fordice, 7 F.3d 453, 457 (5th Cir. 1993); Louisiana Power & Light Co. v. Kellstrom,

50 F.3d 319, 324 (5th Cir. 1995); Joe Hand Promotions, Inc. v. Bella's B. & Grill LLC, 1:19-CV-

00140, 2020 WL 6585717, at *6 (S.D. Tex. Nov. 9, 2020)




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        19.    Plaintiff seeks $1400.00 in attorneys’ fees and $440.00 in costs under 17 U.S.C. §

505.

        20.    If the court determines that the prevailing party should receive attorney's fees, the

court must use the “lodestar” method to determine the reasonableness of the requested fees. Spear

Mktg., Inc. v. Bancorpsouth Bank, No. 3:12-CV-3583-B, 2016 WL 193586, at *3 (N.D. Tex. Jan.

14, 2016), aff'd, 844 F.3d 464 (5th Cir. 2016) (citing Jimenez v. Wood Cnty., Tex., 621 F.3d 372,

380 (5th Cir. 2010)). To determine the lodestar, the court must determine the reasonable number

of hours expended by the attorney and the reasonable hourly rate for the attorney. The court then

multiplies the number of hours by the hourly rate. Hacienda Records, 2019 WL 93306, at *3

(citing La. Power & Light Co. v. Kellstrom, 50 F.3d 319, 324 (5th Cir. 1995)). The lodestar is

intended to reflect “the prevailing market rates in the relevant community.” Hacienda Records,

2019 WL 93306, at *3 (quoting Perdue v. Kenny A. ex rel. Winn, 559 U.S. 542, 551 (2010)). It

“roughly approximates the fee that the prevailing attorney would have received if he or she had

been representing a paying client who was billed by the hour in a comparable case.” Id. A

reasonable fee is one that is sufficient to induce a capable attorney to undertake the representation

of a meritorious case, but is not intended to produce windfalls to attorneys. Hacienda Records,

2019 WL 93306, at *3 (citing Perdue, 559 U.S. at 552). An attorney's requested hourly rate is

prima facie reasonable when he or she requests that the lodestar be computed at his or her

customary billing rate, the rate is within the range of prevailing market rates, and the rate is not

contested. Hacienda Records, 2019 WL 93306, at *3 (citing Kellstrom, 50 F.3d at 328).

        21.    The first step in computing the lodestar is determining a reasonable hourly rate.

The prevailing market rate for similar services by similarly trained and experienced lawyers in the

relevant legal community is the established basis for determining a reasonable hourly rate. Tollett




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v. City of Kemah, 285 F.3d 357, 368 (5th Cir. 2002). The party seeking fees bears the burden of

establishing the market rate and should present the court with evidence from which the court can

determine the reasonableness of the proposed rate. dismissed, 20-20168, 2020 WL 5642035 (5th

Cir. July 16, 2020)

       22.     My hourly rate for the prosecution of copyright infringement matters is $700.00

per hour which is well within the range of hourly billing for similarly experienced attorneys

according with the Report of the Economic Survey (2017) for the American Intellectual Property

Law Association as well as the rates set forth in the Laffey Matrix chart of hourly rates for

attorneys and paralegals in the Washington, D.C. area that was prepared by the United States

Attorney's Office to be used in fee-shifting cases.

       23.     By way of background, I received my Juris Doctor (J.D.) from the University of

Pennsylvania Law School in 1993 and am a founding partner in the law firms of Sanders Law,

PLLC, and Barshay Sanders, PLLC. I was admitted to practice law in Florida in 1993 and New

York in 1994. In addition to New York and Florida, I am currently admitted to practice law in the

states of California, Utah, Colorado, Maryland, Washington and New Jersey. I am also admitted

to practice law in the Federal Courts of, California (all four Districts), Colorado, Florida (all three

Districts), Illinois (all three Districts as a lead trial attorney), Indiana (both Districts), Maryland,

New York (all four Districts), Texas (all four Districts), Utah, Wisconsin (both Districts) and New

Jersey. In addition to my District Court admissions, I am also admitted to the Second, Third,

Fifth, Ninth, and Tenth Circuit Courts of Appeal sand have argued appeals in each of these

circuits. Finally, I am also admitted in the United States Supreme Court and have submitted writs

and briefs thereto. I am in good standing in the above-referenced courts and have never been

disciplined by any bar. During the course of my thirty (30) year professional career, I have




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focused on Federal Litigation, primarily involving civil litigation matters with a heavy focus on

intellectual property matters including copyright and trademark.

       24.      The party seeking attorney's fees bears the initial burden of submitting adequate

documentation of the hours expended and the hourly rates. Hensley v. Eckerhart, 461 U.S. 424,

437, 103 S. Ct. 1933 (1983). I have billed for the review of the file and the preparation of this

motion for default.

     Date             Description of Services                        Time       Total
     10/25/23         Review and drafting of complaint               0.8        $560.00
     3/5/24           Review request for Clerk’s entry of default    0.1        $70.00
     5/10/24          Draft application for default judgment,        1.1        $770.00
                      including attorney declaration
     Total                                                           2.0        $1400.00


       25.      The Supreme Court has indicated that courts may only award costs that are

articulated in § 1920 absent explicit statutory or contractual authorization to the contrary.

Crawford Fitting Co. v. J.T. Gibbons, Inc., 482 U.S. 444–45 (1987); Mota v. Univ. of Tex.

Houston Health Sci. Ctr., 261 F.3d 512, 529 (5th Cir. 2001). Here, that “explicit statutory

authority” is found in 17 U.S.C. § 505, which specifically applies to copyright cases. Guzman v.

Hacienda Records, 2015 WL 4920058, at *1 (S.D. Tex. Aug. 18, 2015) (citing Susan Wakeen

Doll Co. v. Ashton Drake Galleries, 272 F.3d 441, 458 (7th Cir. 2001) (“[A]ny award of fees and

non-taxable costs must come through [section 505], and not through the general cost provisions of

28 U.S.C. § 1920.”))



                 Date           Description                        Total
                 10/25/23       Court filing fee                   $400.00
                 1/18/24        Personal service fee               $40.00
                 TOTAL                                             $440.00



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       26.     No part of the Judgment sought has been paid, other than as indicated in the

present motion.

       27.     A true and correct copy of the operative complaint is attached hereto as Exhibit A.

       28.     A true and correct copy of the Proof of Service is attached hereto as Exhibit B.

       29.     A true and correct copy of the Clerk’s Entry of Default is attached hereto as

Exhibit C.

       30.     A true and correct copy of the applicable U.S. copyright registration certificate is

attached hereto as Exhibit D.

Dated: Uniondale, New York
       May 10, 2024

                                             SANDERS LAW GROUP

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